         Case 1:16-cv-00259-KCD Document 184 Filed 03/13/23 Page 1 of 2




                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
 Health Republic Insurance Company,
                        Plaintiff, on behalf of
                        itself and all others              Case No. 16-259C
                        similarly situated,
                                                           Judge Kathryn C. Davis
 vs.
 United States of America.
                        Defendant.


             PLAINTIFF’S UNOPPOSED MOTION FOR A STATUS CONFERENCE

       Pursuant to Rule of the Court of Federal Claims 16(a), Plaintiff Health Republic

Insurance Company (“Health Republic”) respectfully requests a status conference at the Court’s

convenience. Health Republic wishes to raise two issues at this conference.

       First, the parties have been in active discussions regarding entrance of stipulated

judgments as to the Dispute Subclass (i.e., a judgment for the Dispute Subclass against the

United States, and a parallel judgment for the United States against Colorado Health Insurance

Cooperative, Inc. on the United States’ counterclaim). Health Republic respectfully avers that

discussion with the Court regarding proposed language in the judgment would be productive and

could avoid yet further motion practice, as the dispute centers over a single sentence in the

judgment against Colorado Health about where the United States may seek to collect on its

counterclaim.

       Second, on March 9, 2023, mandate issued from the United States Court of Appeals for

the Federal Circuit with respect to an appeal from this Court (Dkt. 183). The Federal Circuit’s

decision vacated and remanded this Court’s award of attorney’s fees and remanded the matter

back to this Court for further proceedings. Plaintif f respectfully suggests that a status conference

to address procedures and a schedule for further proceedings would be advisable at this time.
       Case 1:16-cv-00259-KCD Document 184 Filed 03/13/23 Page 2 of 2




Dated: March 13, 2023                 Respectfully submitted,



                                      QUINN      EMANUEL        URQUHART         &
                                      SULLIVAN, LLP

                                      /s/ Adam B. Wolfson
                                      Adam B. Wolfson
                                      adamwolfson@quinnemanuel.com
                                      865 S. Figueroa Street
                                      Los Angeles, California 90017
                                      Telephone: (213) 443-3000
                                      Facsimile: (213) 443-3100

                                      Andrew H. Schapiro
                                      andrewschapiro@quinnemanuel.com
                                      Margaret Haas
                                      margarethaas@quinnemanuel.com
                                      191 North Wacker Drive
                                      Suite 2700
                                      Chicago, Illinois 60606
                                      Telephone: (312) 705-7400
                                      Facsimile: (312) 705-7401


                                      Attorneys for Colorado HealthOp and the Class
